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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 BLACKBIRD TECH LLC d/b/a
 BLACKBIRD TECHNOLOGIES,

        Plaintiff,
                                                           C.A. No. 17-cv-00911-RGA
 v.
                                                          JURY TRIAL DEMANDED
 CAPITAL ONE FINANCIAL
 CORPORATION,

         Defendant.


                STIPULATION AND ORDER FOR EXTENSION OF TIME

       Counsel for Plaintiff Blackbird Tech LLC d/b/a Blackbird Technologies (“Blackbird

Technologies”) and Defendant Capital One Financial Corporation (“Defendant”) have met and

conferred regarding extending Defendant’s time to respond to the Complaint. (D.I. 1). Subject to

the Court’s approval, Blackbird Technologies requests that the deadline for Defendant to respond

to the Complaint be extended up to and including January 30, 2018. The parties believe good

cause exists for the requested extension since it will facilitate continuing discussions concerning

potential out-of-court resolutions of the above-captioned action. The parties are available at the

Court’s convenience should the Court wish to discuss this request.
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    Dated: January 16, 2018                  STAMOULIS & WEINBLATT LLC

                                             /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis #4606
                                               stamoulis@swdelaw.com
                                             Two Fox Point Centre
                                             6 Denny Road, Suite 307
                                             Wilmington, DE 19809
                                             (302) 999-1540

                                             Attorneys for
                                             Plaintiff Blackbird Tech LLC


SO ORDERED, this ___________ day of January, 2018.

                                      ____________________________________
                                      United States District Court Judge
	




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 16, 2018, I electronically served the forgoing document on
all counsel of record in this action as well as counsel for Defendant who have not yet made an
appearance.


                                             /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis #4606




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